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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO, 19-20822-CR-WILLIAMS/TORRES
UNITED STATES OF AMERICA
V.

JESUS MANUEL MENOCAL, JR.,

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Defendant. )
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ORDER SETTING PRE-TRIAL DEADLINES

This case is specially set for trial commencing on November 9, 2020, in Courtroom 11-3

of the United States Courthouse, 400 N. Miami Avenue, Miami, Florida.
I, Discovery

1. All responses to the Standing Discovery Order and/or Local Rule 88.10 shall be
provided in a timely fashion. Both parties are directed to comply with all their discovery
obligations.

2. The United States shall file any Rule 404(b) notices no later than August 3, 2020.

3. The United States has indicated that it has already provided to the defense 29,227
items on an external hard drive with an accompanying detailed index, which was filed under seal.
DE 16. Included in those materials that were provided to the defense were FBI reports of victims
and potential witnesses that had been drafted by that date. Additionally, the parties have informed
the Court that the defense provided a separate 1-terabyte hard drive which is being loaded with
additional voluminous materials, including phone dumps, images of the Defendant’s Hialeah
Police Department computer, and search warrant results for the Defendant’s iCloud account. This
1-terabyte hard drive will be provided to the defense as soon as is practicable. Furthermore, the

United States has indicated that it has in its possession some items that appear not to be relevant
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to this case and does not anticipate using such materials in its case-in-chief; the United States will
continue to make these items available for inspection by the defense. As additional materials are
obtained by the United States, they are to be provided or made available to the defense in a timely
fashion upon receipt.

II. Motions

1. . Motions to suppress evidence or to dismiss the Indictment must be filed no later
than August 3, 20290.

2. Pre-trial motions, including motions in limine. (other than motions to suppress
evidence or to dismiss the Indictment) shall be filed no later than August 24, 2020.

Il. Pre-Trial

1. The parties shall submit proposed voir dire questions, proposed jury instructions,
and lists of proposed exhibits prior to the calendar call. Eleventh Circuit Pattern Jury Instructions
shall be used unless otherwise noted. In addition, counsel shall provide the Court with a Microsoft
Word version incorporating the proposed jury instructions and verdict forms.

2. All requests for Writs Ad Testificandum must be filed no later than fourteen (14)
business days prior to the first day of the scheduled trial date to ensure adequate time for
processing.

3. If either party seeks to introduce transcripts at trial, the moving party shall present
a copy to all counsel not less than ten (10) days prior to the scheduled trial date. Ifa transcript
cannot be agreed upon, each party shall produce their own version of the transcript for presentation
to the trier of fact. Government counsel shall notify the case agent/client agency of this

requirement,

4, Counsel are instructed to notify the Court if an interpreter is required at least 24
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hours prior to any hearing or trial.
5. All exhibits which will be offered into evidence must be pre-labeled in accordance
with the proposed exhibit list. Exhibit labels shall include the case number.

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DONE AND ORDERED in chambers in Miami, Florida, this day of January,
2020.

HONORABLE KATHLEEN M. WILLAIMS
UNITED STATES DISTRICT JUDGE
